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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION               )       MDL No. 2804
  OPIATE LITIGATION                        )
                                           )       Case No. 17-md-02804
                                           )
THIS DOCUMENT RELATES TO:                  )       Judge Dan Aaron Polster
                                           )
ALL CASES                                  )


                          Plaintiffs’ Motion to Approve
            Co-Leads, Co-Liaisons, and Plaintiffs’ Executive Committee

       On December 18, 2017, a group of more than 150 Plaintiffs’ counsel attended

the organizational meeting at the Hilton Hotel in downtown Cleveland. The meeting

took place after notice was duly given to all counsel of record in the cases subject to the

conditional transfer order issued by the Judicial Panel on Multidistrict Litigation, to all

counsel of record listed on the N.D. Ohio docket for this litigation, and to the AAJ Opioid

Litigation Section Group membership.

       During the meeting, a motion was made to approve a list of individuals to serve in

leadership capacity on behalf of Plaintiffs in this MDL. The motion was seconded, and a

voice vote was held. The result was an overwhelming consensus approving this list. In

the voice vote, there were no objections raised.

       In accordance with said vote, Plaintiffs now move this Honorable Court to

approve the following individuals for leadership roles in this litigation. The individuals

have an extensive breadth and depth of experience in MDLs and other complex

litigation, and they represent the vast majority of Plaintiffs in this MDL.
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Co-Leads:

       Paul Hanly, Jr. is a founding member of Simmons Hanly Conroy LLC, an 80-

attorney, 240-support staff, plaintiff law firm headquartered in Alton, Illinois, with offices

in seven cities. A graduate of Cornell (B.A.), Cambridge (M.A.) and Georgetown (J.D.),

and a former law clerk to a United States District Judge, Mr. Hanly has been involved in

complex mass tort litigation for more than 35 years, during which time he has tried to

verdict dozens of complex cases in federal and state courts around the country. Mr.

Hanly and members of his firm have held court-appointed leadership posts (PEC and/or

PSC) in 20 separate MDLs since 2003, including the In re Gadolinium MDL over which

this Court presided between 2008 and 2013. Perhaps most significant for the present

proceedings is the fact that Mr. Hanly and his firm effectively pioneered mass-scale

opioid litigation, litigating to successful resolution in the years 2003-2007 more than

5,000 civil claims involving the addictive properties of OxyContin, while at the same time

providing to the U.S. Department of Justice never-before-seen evidence that enabled

DOJ to obtain a criminal conviction of the makers of OxyContin, including exacting a

$634 million criminal fine.

       Paul T. Farrell Jr. is a partner in the law firm Greene, Ketchum, Farrell, Bailey &

Tweel, LLP in Huntington, West Virginia. Mr. Farrell is an experienced trial lawyer in the

field of medical negligence. He served as Liaison Counsel in the transvaginal mesh

MDL as well as trial counsel in a $2 million dollar bellwether verdict in In re C.R. Bard,

Inc., 810 F.3d 913, 917 (4th Cir. 2016) which was followed by an $18.5 million verdict in

4 consolidated cases in Campbell v. Boston Sci. Corp., 2016 WL 5796906, at *19

(S.D.W. Va. Oct. 3, 2016) (No. 2:12-CV-08633) (appeal pending). Mr. Farrell is the



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Founding Co-Chair of the AAJ Opioids Section Litigation Group and co-chaired the first

Continuing Legal Education program involving Opioid litigation. He is lead counsel of

record in over 100 filed cases in federal courts on behalf of governmental entities in

Alabama, Illinois, Indiana, Kentucky, Massachusetts, Mississippi, North Carolina, Ohio,

Pennsylvania and West Virginia seeking to abate the opioid epidemic and brought some

of the first cases in the country against the distributors of prescription opioids.

       Joe Rice of Motley Rice LLC is recognized as a skillful and innovative negotiator

of complex litigation settlements, having served as the lead negotiator in some of the

largest civil actions our courts have seen in the last 20 years. He established his

reputation through his involvement structuring some of the most significant resolutions

of asbestos liabilities on behalf of those injured by asbestos‐related products and for his

central role in crafting the Master Settlement Agreement involving the tobacco industry.

Joe also led the strategic mediations and/or resolutions on behalf of 56 families of 9/11

victims who opted out of the government-created September 11 Victim Compensation

Fund. Since then, Joe has continued to work extensively in the area of complex mass

torts litigation. He served as co-lead negotiator for the class action settlement in the BP

Deepwater Horizon Oil Spill in the Gulf of Mexico, for which he continues to serve on

the Plaintiffs’ Steering Committee. He has also led negotiations on behalf of thousands

of women in the transvaginal mesh litigation that has five MDLs pending in the state of

West Virginia. Most recently, Joe served as a member of the negotiating team in the d

Volkswagen Diesel Emissions Fraud class action settlement, which is the largest auto-

related consumer class action settlement in U.S. History. With the support of over 90

attorneys and 300 staff at Motley Rice LLC, Joe litigates in areas including medical



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drugs and devices, securities and consumer fraud, anti‐terrorism, human rights,

environmental, aviation and catastrophic injury.



Co-Liaisons:

       Troy Rafferty is a partner in the law firm of Levin, Papantonio, Thomas, Mitchell,

Rafferty and Proctor located in Pensacola, Florida. He specializes in litigating mass

tort, pharmaceutical and major personal injury cases throughout the country. He has

tried and litigated numerous pharmaceutical and mass tort cases.            He has been

appointed to leadership positions in several MDLs, including to be Co-Lead Counsel in

the In re: Gadolinium Based Contrast Action Litigation (MDL No. 1909), the Plaintiffs’

Steering Committee and as Co-Chair of the Plaintiffs’ Discovery Committee in the In re:

Vioxx Products Liability Litigation (MDL No. 1657), the Plaintiffs’ Executive Committee in

the In re: Yamaha Motor Corp. Rhino ATV Products Liability Litigation (MDL No. 2016),

the Plaintiffs’ Steering Committee in In re: Zyprexa Products Liability Litigation (MDL No.

1596), the Plaintiffs’ Steering Committee in In re: Fosamax (Alendronate Sodium)

Products Liability Litigation (No.II) (MDL No. 2243), the Plaintiffs’ Steering Committee in

In re: Actos (Pioglitazone) Products Liability Litigation (MDL No. 2299), the Plaintiffs’

Steering Committee in In res Fresenius Granuflo/Naturalyte Dialysate Products Liability

Litigation (MDL No. 2428), the Plaintiffs’ Executive Committee in the In re: Benicar

Products Liability Litigation (MDL No. 2606), the Plaintiffs’ Executive Committee in the

In re: Abilify Products Liability Litigation (MDL No. 2734), and the Plaintiffs’ Executive

Committee in the In re: Proton-Pump Inhibitor Litigation (MDL No. 2789).




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        Steve Skikos is the founding partner of Skikos, Crawford, Skikos and Joseph,

located in San Francisco, with offices in Cleveland and Orange County. The firm

focuses on cases against the pharmaceutical industry, and Mr. Skikos has acted as co-

lead counsel on national cases, most recently as Co-Lead Counsel appointment by the

Honorable David A. Katz in the In re: DePuy Orthopedics Inc. ASR Hip Implant Prods.

Multidistrict Litigation, MDL No. 2197 (N.D. Ohio) and the California Coordinated

Proceeding Reglan/Metoclopramide Cases Litigation, JCCP No. 4631, which did not

have an MDL. Mr. Skikos has also served before this Court on the Plaintiffs' Executive

Committee and Plaintiffs' Steering Committee in In re: Gadolinium Contrast Dyes

Products Liability Litigation, MDL No. 1909 (N.D. Ohio). Mr. Skikos has been court

appointed liaison more than ten times in California Coordinated Proceedings as well as

state-federal liaison counsel, including in the In re: Yasmin and Yaz (Drospirenone)

Marketing, Sales Practices and Products Liability Litigation, MDL No. 2100 (S.D.

Illinois).

        Peter Weinberger is the managing partner of the firm of Spangenberg Shibley &

Liber, LLP located in Cleveland, Ohio. The Spangenberg firm has had a long history of

litigation against the pharmaceutical industry beginning with cases involving the drug

thalidomide in the 60s and 70s, followed by cases involving the drugs Halcion,

Albuterol, and many others. Mr. Weinberger specializes in product liability, medical

malpractice, and catastrophic accidents. Mr. Weinberger was liaison counsel in the

Gadolinium Contrast Dyes Products Liability Litigation, MDL No. 1909 (N.D.Ohio),

served on the executive committee, and managed the fee committee. He worked with

the court and special master extensively in the settlement efforts that helped resolve



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more than 600 cases. Mr. Weinberger also served on the plaintiffs' steering committee

in the Teflon Product Liability Litigation, MDL No. 1733, and was on the trial team that

presented the class certification issues at trial. Most recently, Mr. Weinberger served

on the plaintiffs’ executive committee in Benicar (Olmesartan) Products Liability

Litigation, MDL No. 2606. In addition to his MDL experience, Mr. Weinberger has been

recognized for his success as a trial lawyer, having been selected as a fellow in the

American College of Trial Lawyers and the International Society of Barristers. He was

recently named by “Super Lawyers” publication as one of the Top 10 lawyers in the

State of Ohio for 2018.



Plaintiffs’ Executive Committee:

      Elizabeth Cabraser is a founder of Lieff Cabraser Heimann & Bernstein, LLP, a

75+ attorney firm that represents plaintiffs nationwide from its San Francisco, Nashville,

and New York offices. Lieff Cabraser represents city, county, and third party payor

Opioid plaintiffs. Ms. Cabraser has over 39 years’ experience in pharmaceutical and

medical device, product liability, financial and consumer fraud, mass tort, RICO, and

human rights litigation in federal and state courts. Since 1980, she has served in court-

appointed leadership roles in scores of MDLs and state coordinated proceedings,

including, recently, the historic prosecutions and settlements of the Deepwater Horizon

(MDL No. 2179; Barbier, J.) (PSC/Class Counsel) and Volkswagen “Clean Diesel” (MDL

No. 2672; Breyer, J.) (Lead Counsel/Class Counsel) cases, now both in settlement

administration mode, each generating $15+ billion for class members. Ms. Cabraser

speaks and writes extensively on multidistrict litigation and class action issues (most



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recent publication, “The Participatory Class Action”, 92 NYU L. Rev. 846, October 2017)

and on the advancement of women in the profession, and teaches complex litigation

and class action law at Berkeley and Columbia Law Schools. Ms. Cabraser served on

the Advisory Committee on Civil Rules (2010-2017), serves on the Executive

Committee of the Council of the American Law Institute, and is a Fellow of the American

Academy of Arts and Sciences. She has been named repeatedly as one of American

Lawyer’s 100 Most Influential Lawyers in America and to the Lawdragon 500, and as a

SuperLawyer in multiple fields. In 2010, the ABA Commission on Women in the

Profession honored Elizabeth with its Margaret Brent Women Lawyers of Achievement

Award, regarded by many as the highest honor in the legal profession for women

lawyers. She was selected by Law360 as a 2016 MVP for Class Action Law, in

February 2017 was named Benchmark Litigation’s “Plaintiff Attorney of the Year”, and in

September 2017 received the National Law Journal’s “Lifetime Achievement” award.

Lieff Cabraser commits its human and financial resources to this compelling litigation;

our opioids team includes partners Paulina do Amaral, Mark Chalos, Lexi Hazam, Jason

Lichtman, and a dedicated attorney and paralegal crew.

       Jennifer Fountain Connolly is a Partner at Hagens Berman Sobol Shapiro LLP

and runs its Washington, D.C. office. In 2014, Hagens Berman filed one of the earliest

opioid marketing cases on behalf of the Orange County, California District Attorney’s

office. Since that time, Ms. Connolly has managed the day-to-day aspects of all of

Hagens Berman’s opioid-related litigation, including cases filed on behalf of the states of

Mississippi (filed in 2015), Ohio (filed 2017), and the City of Seattle, as well as and

several other states and municipalities that have yet to be filed. She has been involved



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in major pharmaceutical litigation for the past fifteen (15) years, having key

responsibilities in some of the firm’s largest and most complex cases. Ms. Connolly

helped develop and then had a significant role in litigation against McKesson

Corporation alleging the company engaged in a scheme that raised the prices of more

than 400 brand-name prescription drugs, resulting in a $350 million settlement on the

eve of trial. She then had a key role in subsequent cases against McKesson brought by

a class of municipalities ($82 million settlement) and numerous state attorneys general.

Ms. Connolly was also a key member of the Hagens Berman-led team that successfully

tried the Average Wholesale Price litigation against four pharmaceutical company

defendants, obtaining a verdict that was subsequently affirmed in all respects by the

First Circuit Court of Appeals. Ultimately, the court approved a total of $338 million in

settlements.

       Jayne Conroy is a founding member of Simmons Hanly Conroy LLC. Ms.

Conroy is a graduate of Dartmouth College and the New England School of Law, and,

along with her partner Paul Hanly, has been litigating complex mass tort cases for some

30 years. Ms. Conroy has held court-appointed leadership posts (PEC and PSC) in

nearly 20 MDLs since 2004, and is routinely sought out for her extensive, real-world

MDL discovery, trial and resolution experience, including as the keynote speaker at the

Emory University Law School symposium on MDL proceedings in 2016 and as a

panelist/member in over a dozen other symposia and conferences on that subject. Ms.

Conroy was appointed and successfully served as a member of this Court’s PSC in In

re Gadolinium and, together with Mr. Hanly, successfully litigated private civil litigation




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involving OxyContin as well as assisting the U.S. Department of Justice in its

prosecution of the makers of OxyContin.

       Erin Dickinson is a founding partner of Crueger Dickinson LLC, a law firm

focused on complex litigation located in Milwaukee, Wisconsin. Ms. Dickinson currently

represents over seventy counties, including in Wisconsin, Iowa, Indiana, and Minnesota,

against the pharmaceutical manufacturers of prescription opioids.          In addition, Ms.

Dickinson maintains a national class action practice and has served as co-lead counsel

in cases around the United States, most recently obtaining a unanimous jury verdict on

behalf of 7000 class members in the Northern District of Ohio. See Jammal, et. al., v.

American Family Insurance Group, et al., No. 1:13- CV-437 (N.D. of Ohio 2017).

       Michael J. Fuller is a senior partner and founding member of McHugh Fuller

Law Group. Mr. Fuller has dedicated his career to the protection of people. Upon

graduating from the University of Florida College of Law, he joined the Hillsborough

County State Attorney’s Office and spent several years protecting the residents of

Tampa Bay as a prosecutor. From there, Mr. Fuller joined a national law firm that

specialized in representing and protecting the elderly from abuse and neglect in nursing

homes and assisted living facilities. In 2006, Mr. Fuller and James B. McHugh decided

to start their own firm and, once again, dedicated their efforts to those who could not

protect themselves, particularly those confined to health care institutions. Since 2006,

Mr. Fuller has worked to put together an elite trial team consisting of experienced

litigators and legal writers that can litigate and try complex medical cases against billion-

dollar national defendant corporations. Through the leadership of Mr. Fuller and Mr.

McHugh, the attorneys at McHugh Fuller Law Group have amassed verdicts of over 300



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million dollars on behalf of their clients and have successfully handled appeals before

State Supreme Courts, Courts of Appeal, numerous Federal District Courts, the 4th, 5th,

and 11th Circuit Courts of Appeal and the United States Supreme Court.

       Paul J. Geller is a founding partner of Robbins Geller Rudman & Dowd LLP

(“RGRD”), one of the largest firms in the country that limits its practice to the

representation of plaintiffs in MDL, consumer fraud, and complex class action litigation.

Geller and his firm have obtained record-breaking settlements and trial verdicts in some

of the country’s largest and most complex cases, including In re Volkswagen “Clean

Diesel” Mktg., Sales Practices, & Prods. Liab. Litig., MDL No. 2672 (N.D. Cal.), where

he served on the Plaintiffs’ Steering Committee and helped          obtain, along with the

Department of Justice, aggregate settlements of $17 billion (the largest ever consumer

class action settlement) and Jaffe v. Household Int’l, Inc., No. 1:02-cv-5893 (N.D. Ill.),

where RGRD served as sole lead counsel and secured $1.575 billion for its clients after

14 years of litigation, including a trial and appeal (the largest ever post-trial securities

class action settlement).    Geller has also had success in this District, personally

negotiating the settlement in Gemelas v. The Dannon Co., Inc., No. 1:08-cv-236 (N.D.

Ohio), where RGRD served as co-lead counsel and secured $45 million for consumers

(at the time the largest deceptive food label settlement). Most recently, Geller was

appointed as co-lead counsel In re EpiPen (Epinephrine Injection, USP) Mktg., Sales

Practices & Antitrust Litig., No. 2785 (D. Kan.), a nationwide MDL alleging

pharmaceutical company Mylan N.V. and others engaged in anticompetitive conduct in

the marketing of the EpiPen Auto-Injector device. Indeed, of particular relevance here,

Geller and his firm have served as lead counsel and obtained numerous significant



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recoveries in cases brought against drug manufacturers and distributors, including

Pfizer ($400 million recovery), Cardinal Health ($600 million recovery), Pharmacia

Corporation ($164 million recovery), and Wyeth ($67.5 million recovery). Moreover,

Geller has a long history of representing governmental entities in a variety of cases and

is currently representing large counties and municipalities in Arizona, Florida, Maryland

and Michigan in connection with the opioid epidemic. Geller serves on the Advisory

Board of The Institute for Complex Litigation and Mass Claims at Emory University

School of Law (“Emory Institute”), and frequently lectures on MDL and class action

issues at judicial seminars, bar conferences, and academic programs, such as The

Duke Law Center for Judicial Studies’ Class Action Settlement Conference and the

Emory Instititute’s Complex Settlements Conference co-sponsored by the Federal

Judicial Center and the JPML.

       Mark Lanier. Having spent over five years at defense firm Fulbright & Jaworski,

in 1990, Mark Lanier founded the Lanier Law Firm. The firm has grown to employ over

60 lawyers with offices in New York, Oklahoma City, Houston, and Los Angeles. Mr.

Lanier has earned international recognition as a trial lawyer in the United States, with

verdicts exceeding $13 billion. Lanier has been appointed to leadership in MDLs across

the nation, including co-lead counsel in the currently pending Pinnacle hip litigation. As

the lead trial lawyer in the Pinnacle MDL, Lanier has tried all four bellwether trials,

resulting in verdicts totaling more than $1.75 billion. Mr. Lanier tried the Actos MDL and

followed on the $9 billion-dollar verdict working to negotiate the global settlement of the

cases in federal court, as well as the consolidated state court proceedings in Illinois and

California.   Prior to 2014, Lanier repeatedly tried the Vioxx cases against Merck,



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obtaining over $250 million in verdicts. Mr. Lanier’s multiple trial verdicts put pressure

on Merck to fund a national settlement in the amount of $4.85 billion.           His broad

experience has afforded him the opportunity to work cooperatively with many of the

other leading pharmaceutical trial lawyers across the country, many of whom are

involved in this litigation. The firm’s Vioxx litigation included representation of multiple

attorney general offices across the country, including a current action on behalf of the

Attorney General of Utah. Among Lanier’s clients in the opioid litigation, are several of

the largest counties in the United States, including the counties encompassing the cities

of Dallas, Ft. Worth, and Austin.

       Burton LeBlanc is a shareholder with the national law firm of Baron & Budd,

P.C. Mr. LeBlanc’s extensive courtroom accomplishments paved the way for his

recognition as one of the top 75 plaintiff’s attorneys in the United States by The

American Lawyer. Mr. LeBlanc is a past president of the American Association for

Justice (AAJ), the largest trial bar in the world. As a Founding Chair of the AAJ Opioids

Section Litigation Group, he organized and chaired the first Continuing Legal Education

program involving Opioid litigation. He also is counsel of record in over 100 filed cases

in federal courts on behalf of governmental entities seeking to abate the opioid

epidemic. Mr. LeBlanc has a proven track record, having successfully represented over

15 state Attorneys General, as well as hundreds of cities and counties. He was part of

the legal team that secured a $177 million settlement for seven states’ Attorneys

General in the Avandia litigation. Mr. LeBlanc’s federal appointments include serving on

the Plaintiffs’ Steering Committee in In re: Fresenius Granuflo/Naturalyte Dialysate

Products Liability Litigation, MDL 1:13-md-2428 (U.S.D.C. D. Mass.); the Committee of



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Unsecured Asbestos Creditors in In Re Pittsburgh-Corning Corp. Bankruptcy, No. 00-

22876-JKF (U.S.D.C. Bankr. D. W.D. Pa.); and, the Asbestos Claimants Creditor

Committees in In Re Babcock & Wilcox Bankruptcy, No. 00-10992-B (U.S.D.C. Bankr.

D. E.D. La.), and In Re Rockwool Manufacturing Co. Bankruptcy, No. 96-08295-TBB-11

(U.S.D.C. Bankr. D. N.D. Ala.).

       Peter J. Mougey is a partner and head of the Securities & Business Litigation

Department with Levin, Papantonio, Thomas, Mitchell, Rafferty & Proctor, PA.           Mr.

Mougey has 20 years of experience successfully litigating complex, high-profile cases

including financial fraud, corporate misconduct, business torts, and securities fraud. He

has represented hundreds of governmental entities, including cities, counties, pension

plans, public utilities, and hospitals in addition to more than 2,500 individual victims of

financial fraud. Mr. Mougey has both an undergraduate degree in finance and an MBA

with extensive experience in financial and mathematical modeling and quantitative

analyses      in   support    of    complex      ERISA,     antitrust,   securities,   and

commercial litigation. He has taken dozens of cases to verdict in various forums. He is

rated AV Preeminent, recognized as one of Florida’s top 100 trial lawyers, a

Florida Super Lawyer, Florida Trends Legal Elite, and the former President of the

national securities bar association. In addition, Mr. Mougey has served as counsel in a

number of both class and derivative actions. He is routinely asked to lecture on all

aspects of his complex litigation practice and regularly quoted in the national press. In

addition, Mr. Mougey consults on various cases for governmental agencies and

regulators.




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      Ellen Relkin is of counsel to Weitz & Luxenberg, P.C. in New York City

and Cherry Hill, New Jersey. She is designated by the New Jersey Supreme Court as a

Certified Civil Trial Attorney. She has been elected as a “Super Lawyer” of New Jersey

and New York and as a Best Lawyers honoree. She is an elected member of the

American Law Institute and currently serves as the President of the Pound Civil Justice

Institute. She co-chairs the MDL Roundtable of the Emory Law School Institute for

Complex Litigation and Claims. She is licensed to practice in NY, NJ, PA and the

District of Columbia and focuses her practice on pharmaceutical and medical device

litigation. Ms. Relkin was appointed by the Honorable David Katz as co-lead counsel in

the DePuy In Re: DePuy Orthopaedics, ASR Hip Implant Products Liability Litigation in

the Northern District of Ohio in 2010. In that capacity she played a major role in

negotiating the $2.5 billion settlement for 8,000 victims of the failed hip implant. She

previously had been appointed by Judge Katz to the Executive Committee of the Ortho

Evra Products Liability Litigation MDL No. 1742. Ms. Relkin was most recently

appointed as co-lead counsel in the MDL 2776, In Re: Farxiga Products Liability

Litigation in the SDNY. She was also appointed as State Liaison Counsel and to the

Plaintiffs’ Executive Committee (PEC) in the In Re: Stryker LFIT V 40 Femora Head

Products Liability MDL 2768 and in the parallel NJ state court litigation as both Lead

and Liaison counsel in the New Jersey Multi-County Litigation 624. Ms. Relkin serves

on the PEC In Re: Invokana Products Liability Litigation, USDC, D.NJ. She also was

appointed to the Plaintiffs’ Steering Committee in In Re: Xarelto Products Liability

Litigation, USDC, E.D. La by Judge Eldon Fallon. Ms. Relkin has served since 2012 as

court-appointed lead counsel in the New Jersey In Re: Stryker Rejuvenate Hip



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Litigation. In that capacity she was a key member of the negotiating team for a

settlement compensating 3,000 plaintiffs for an amount in excess of one and a half

billion dollars.

       Lynn Sarko.      Since 1991, Lynn has led Keller Rohrback’s diverse and

accomplished Complex Litigation Group. Lynn is a nationally recognized leader in

complex litigation, having been selected by federal courts nationwide to serve in key

leadership roles in a wide variety of cutting-edge cases, including the In re Volkswagen

“Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation, the In re

EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust Litigation,

and other consumer cases involving drug pricing, and class actions seeking to protect

healthcare workers against wage and pension plan irregularities, to name a few. Lynn

and a team of lawyers at Keller Rohrback regularly represent state and local

governmental entities in the West, including numerous cities and counties that have

brought suit against opioid manufacturers and other defendants responsible for the

opioid epidemic. Current opioid clients include, among others, the City of Tacoma, and

King, Pierce and Skagit Counties in Washington whose population of over 3 million

people has experienced the devastating effects of the opioid epidemic. Lynn was

honored to receive the Trial Lawyers for Public Justice Trial Lawyer of the Year Award

for his work on the Exxon Valdez Oil Spill trial team, and he was a member of the legal

team nominated for the 2016 Nobel Peace Prize for seeking enforcement of the Nuclear

Non-Proliferation Treaty on behalf of the Republic of the Marshall Islands. Prior to

joining Keller Rohrback, Lynn was an Assistant United States Attorney for the District of

Columbia, Criminal Division, an associate at the Washington, D.C. office of Arnold &



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Porter, and law clerk to the Honorable Jerome Farris, United States Court of Appeals for

the Ninth Circuit, in Seattle.

       Chris Seeger. Mr. Seeger is a founding member of Seeger Weiss LLP, one of

the nation’s leading plaintiffs’ mass tort and class action firms. Mr. Seeger and his firm

have been appointed to lead, co-lead, or steering committee positions in many of the

most complex and impactful MDL and class litigations nationwide, securing key jury

verdicts and negotiating innovative, effective settlements valued at tens of billions of

dollars for individuals, municipalities, and private purchasers. Most recently, as Co-

Lead Counsel representing approximately 20,000 retired NFL players in groundbreaking

litigation against the NFL concerning concussion injuries, Mr. Seeger led negotiations

resulting in a settlement, including an uncapped fund valued at approximately $1billion.

Mr. Seeger also was a member of the team of lawyers that negotiated settlements

valued at more than $21 billion in the Volkswagen “Clean Diesel” litigation, and helped

secure multi-billion settlements in the Vioxx and Chinese-Manufactured Drywall MDLs.

Mr. Seeger’s skill and commitment have earned him the respect of his colleagues,

opposing counsel, and the judiciary across the country and Mr. Seeger frequently

presents at conferences and panels with members of the bar and bench on ways to

continue to innovate within and improve MDL and complex litigation to serve the

interests of justice.

       Hunter J. Shkolnik concentrates his area of practice to the trial of significant

personal injury cases primarily in the area of drug, medical device, automobile, heavy

truck and aviation related product liability actions. He leads the discovery and trial

teams of various mass tort pharmaceutical and medical device litigations for the firm. He



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is also active in managing national litigation and currently serving as a Lead-counsel,

Executive Committee Member, Liaison Counsel or other court appointed representative

on Plaintiff Steering Committees in various drug and other mass torts. Hunter was Co-

lead Counsel in In re Fleet Phosphosoda Litigation and In re Bayer Healthcare LLC and

Merial Limited Flea Control Products Marking and Sales Practices Litigation before this

Court.

         Linda Singer chairs the Public Client practice at Motley Rice LLC, where she

exclusively represents state attorneys general and city and county governments in high-

impact, high-stakes litigation and investigations. Previously, she served as Attorney

General of the District of Columbia, where she developed and expanded litigation aimed

at protecting children, consumers, tenants and victims of domestic violence and gun

violence while overseeing a staff of more than 350 lawyers in one of the nation’s largest

attorney general’s offices. Since leaving government, Linda has represented clients in

numerous consumer protection and financial and health care fraud lawsuits that have

resulted in significant settlements and injunctive relief, including more than $1 billion for

Arizona and Nevada in mortgage-related fraud litigation that caused a wave of

foreclosures in those states. Ms. Singer serves as counsel to the first two governments

to have filed cases against pharmaceutical companies that make and market opioids—

Santa Clara County and the City of Chicago—in 2014. She also represents New

Hampshire, South Carolina, Alaska, and Kentucky, as well as a number of other cities

and counties in similar litigation. She also represents Hawai’i and the U.S. Virgin Islands

in litigation alleging consumer fraud and other violations related to the deceptive

marketing of Takata airbags, which prompted the largest auto-related recall in U.S.



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history. She previously represented the U.S. Virgin Islands in enforcement litigation

against an oil company that abruptly shut down, alleging it failed to fulfill its obligation to

operate a refinery in St. Croix as promised in exchange for significant tax breaks. The

resulting settlement is valued at more than $750 million in revenue and environmental

cleanup. Pro bono work has also been a major part of Ms. Singer’s practice. She has

represented individuals and public clients in cases aimed at preventing gun violence

and safeguarding the rights of immigrants, and served on several nonprofit boards.

Linda served from 1994 through 2006 as Executive Director of the Appleseed

Foundation, a network of public interest law centers in the U.S. and Mexico.

       Roland Tellis manages Baron & Budd, P.C.’s Los Angeles Office. His practice

focuses on complex, high-profile litigation, including consumer class actions, financial

fraud, business torts, corporate misconduct and securities fraud cases. Mr. Tellis has

more than twenty years of experience in complex, high-profile litigation helping recover

more than $17 billion dollars for his clients. Mr. Tellis currently holds leadership roles in

numerous high profile, complex MDLs, including In re: Volkswagen “Clean Diesel”

Marketing, Sales Practices, and Products Liability Litigation, In re: Takata Airbag

Products Liability Litigation, and In re: Wells Fargo Collateral Protection Insurance

Litigation. Prior to joining Baron & Budd, Mr. Tellis practiced with the international law

firms of Bingham McCutchen LLP and Milbank, Tweed, Hadley & McCloy LLP, where

he litigated complex cases on behalf of corporate defendants and tried several multi-

million dollar cases to verdict. Mr. Tellis has been named among the Best Lawyers In

America every year since 2014 and a Super Lawyer every year since 2006. He was

elected to serve on the Board of Governors of the Association of Business Trial Lawyers



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and was appointed to serve as a Lawyer Representative to the Ninth Circuit Judicial

Conference. In 2005, Mr. Tellis received commendation from the U.S. Department of

Justice and the Federal Bureau of Investigation for his assistance in a successful

parallel prosecution of a $120 million Ponzi scheme perpetrated by foreign currency

traders.



Plaintiffs’ Steering Committee

       Plaintiffs respectfully request until January 9, 2018, to submit a motion with a list

of individuals to serve on the Plaintiffs’ Steering Committee.         At the meeting of

December 18, 2017, all counsel present who were interested in serving were asked to

submit their names for review by the leadership proposed herein. It is contemplated

that due to the complexity of this case the Plaintiffs’ Steering Committee will be robust.

       Furthermore, as in other MDL proceedings of this nature and due to the

complexity and breadth of the work to be done, it may be necessary during this litigation

to add additional individuals to leadership and to the steering committee and, if so,

application will be made to the Court by leadership.


                                          Respectfully submitted,


                                          s/Peter H. Weinberger
                                          Peter H. Weinberger (0022076)
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 20th day of December 2017, I electronically

filed the foregoing with the Clerk of Court by using the CM/ECF System. Copies will be

served upon counsel of record by, and may be obtained through, the Court CM/ECF

Systems.

                                       s/Peter H. Weinberger
                                       Peter H. Weinberger




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